          Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 1 of 44 PageID #:94
                 Case         No. 47 Document 1 Filed L2l2ll23 Page 1 of 1




 1



2                          BEFORE THE UNITED STATES JUDICIAL PANEL ON
 a                                      MULTIDISTRICT LITIGATION
 J

4
     In re:                                               MDL No. l:23-P-47
                                                                                    Ii'ILU
 5
                                                                                           DEC 2e 208
 6
   23ANDME, fNC.,                                                                                          JB
 7
                                                                                    C.'#flK83,H3I3[,,,
 8                                     MOTION FOR TRANSFER AI\D
                                CONSOLIDATION OF DEFENDANT 23AI[DME, INC.
 9                                LITIGATION PURSUAIIT TO 28 U.S.C. S 1407
10
              Pursuant to 28 U.S.C. $ 1407 and Judicial Panel on Multi-District Litigation ("JPML") Rule 6.2,
11

      Defendants Z3andMe, Inc., 23andMe Pharmacy Holdings, Inc., 23andMe Holding Co. (collectively,
t2
      "23andMe") respectfully move the Panel for an Order transferring the currently-filed cases listed in the
t3
      attached Schedule of Actions (collectively, "the Actions"), as well as any cases subsequently filed
14
      involving similar facts or claims ("tag-along cases"), to the United States District Court for the Northern
l5
      District of California. The motion is supported by the accompanying memorandum of law and exhibits,
t6
      Schedule of Actions, a copy of the complaint and docket for each of the Actions, and a proof of service.
t7
18
                                                   Respectful ly subm itted,
t9
20
      DATED: December 21, 2023                           /s/ Ian C. Ballon
2l
                                                   Ian C. Ballon
22                                                 GREENBERG TRAURIG, LLP
                                                   Ballon@gtlaw.com
z)                                                 1900 University Avenue, 5th Floor
                                                   East Palo Alto, Califomia94303
24                                                 Tel: 650-289-7881 ; Fax: 650-462-7 881
                                                   Attorneys for Defendants 23andMe, Inc., 23andMe
25
                                                   Pharmacy Holdings, Inc., 23andMe Holding Co.
26

27

28
         Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 2 of 44 PageID #:95
              Case Pending No.47 Document 1-1 Filed LZl21,l23 Page 1, of t4




I

2                      BEFORE THE UNITED STATES JUDICIAL PAI\EL ON
                                 MULTIDISTRICT LITIGATION
J

4
                                               MDL No. l:23'P-47
5

6
      23ANDME,INC.,

7

8                  MEMORAI\DUM OF LAW IN SUPPORT OF MOTION FOR TRANSFER
                            AND CONSOLTDATION OF 23ANDME,INC'
9                           LITIGATION PURSUAI\T TO 28 U.S.C.8 1407
10

11

t2

13

t4
15

16

17

18

t9
20

21

22

23

24

25

26

 27

 28
                     Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 3 of 44 PageID #:96

                         CasePendingNo.4TDocumentl.lFiledL2t2Ll2SPage2ott4


                                                    TABLE OF CONTENTS
1
                                                                                                               """"""'6
2        T.            TNTRODUCTION
                                                                                                       """""""""""'7
J            il.       FACTUAL AND PROCEDURAL BACKGROUND"""""
                                                                                                        """"""""""' 8
4            III.      ARGUMENT................
5                      A.TheActionsSatisfytheRequirementsofsection|407.................8
                                                                                                       """"""' 8
6                          1. The Actions Involve common Factual Allegations
                                                                                          Judgments and
7                          2. central\zation Is Necessary to Protect Against Inconsistent
                                Duplicative Discovery
                                                                                                   """""""""" 9
    8
                                                                             the convenience of the Parties and
    9                         J.     consolidation and Transfer will serve

                                     Witnesses                                                            """"""""" 10
10
                                                                                 Transfer and consolidation """"""""
                                                                                                                            11
11                            4.     There is Sufficient Numerosity to Support
                                                                   in The Northern District of california."""""""""'12
t2                      B.    The Actions Shourd be consolidated
                                                                                                          ................... 14
13             IV.      coNCLUSION.........-.

l4
    15

    t6
    17

    18

    t9
    20

    2l
    22

    23

     24

        25

        26

        27

        28
                  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 4 of 44 PageID #:97
                                                                                          3 of 14
                                          Document L-1-             Filed LZIZLIZS Page
                      Case Pending No' 47



                                                 TABLE OF AUTTIORITIES
l ll                                                                                                       page(s)

2

3 ll tr'"d"tul Cases

      , ,re Air West, Inc' Sec' Litig''rot+>.
 oll ,,,
                                        ir                                                          """""""""""' 8
 . ll
 5ll
          ,ti,r,.'i"ip.';b;t.n
           Jv'|L'

 - * re Alodex
                        Corp''               r ^a,\
                                                                                                    """"""""""' 11
 ^llll 380         F. srpp'pzqo (J'P'M'L'     rg74)""""'
 7 It                                   ,t-t;ttl,ct Litia.-
                                     e- Alttttrust'L'Ll6')
  ' ll tn
       ,"' rnre' Anoxicillin         &
                 Amoxicillin Patent &'  Antitrus1Lrti9''                                                   - -........11

    8ll          4;;;'.";;pp. ;0i(i'n'M'L' 1e7s)""

        ,  re Arc Airbag InJlators
                                    P'!4t: Liab' Litig''                       .                       """""""" 10
  ^
    'll ""
       I1
                             t {t s(r'P'M'L' 2022) " " " "'
                 68 ;.-;;,p' ii"
 10




    t'll
    '-                       Custom':?'!,!"f;Breach
                                      Data-Dec'                t"ll.'.
                                                               "'"'o'                                                      8
            * re Capital One
         ll n            one Customer
                                      o Ya'202a):;:"""                   .......
    13   ll       3e6 F. s"pp:i;;L+ te

                                      Distrib,ship anttrust
                                                              Litig."                                  ....................8
    r+ ll      l, re Cessna Aircroft (J'P'M'L'   1978)""""'
          ll       460 F. s"'pp'-rs'l




      20
            ll ,, re Crown Life Premium Litig'-'
       ^. "' 'i;d;.                      - ^nn            1\                                          """""""""""'12
       2' ll        il#: )i-ltos g'e'r"r'r'' 2001)""""'




                                               Antirrust Litigation'                                        """""""""' 8
         " ll ,, re General Adiustment Bure-ou1e73)""""'
         26
            ll 37s F. *oof iiiiiii:t.Mi

                                                                           a
                                                                           J
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 5 of 44 PageID #:98
             Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 6 of 44 PageID #:99
                                                                          4 ot t4
                 case Pending No. 47 Document l--1 Filed L2l2Ll23 Page



1        In re Glaceau VitaminWater Mktg' & Sales Practices Litig''                                 ll
             7 64 F .Supp. 2d 7349 (J.P'M'L'
                                             201 1)""""'
2
         In re Home Depot, Inc. Customer Data Sec' Breach Litig''                             10 lz
J
             65 F. Supp. 3d 1398 (J.P.M'L' 2014)""""'

         In re Hypodermic Prods. Antitrust Litig',
4
                                                                                       .............. 13
5            408 F. Supp. 2d 13s6 (J.P'M 'L2007)""'

6        In re Kia Hyundai Vehicle Thefi Litig',
              2O22U.S.Dist. LEXIS 230160 (J'P'M'L' Dec' 13' 2022)'
                                                                 June 13, 2023)            """"" 10
7            transferred,2023 U.S. Dist. LEXIS 102833 (C.D' Cal'
8
         In re Land Rover LR3 Tire Wear Products Liab' Litig''
             s98 F. Supp.2d 1384 (J.M'P'L' 2009)""
                                                                                    """""""""12
9

l0       In re Marriott Int'|, Inc.,                                                       ----..-... 13

11
          In re MOVEit Customer Data Sec' Breach Litig''                                    tL) rt).
                                                                                         e 11
12             2023WL6456749(J'P'M'L' Oct'4,2023)
                                                                                      """o'
13        In re Phila. Life Ins. Co. Sales Practices Litig',                                          1l
              149 F. Supp. 2d937 (J.P.M'L' 2001)""""'
14

          In re Proton-Pump Inhibitor Prods' Liab' Litig' No ID'
15                                                                                               """' 9
               26t F .Supp. 3d (J.P'M.L .2017)"""'
t6
                          23andMe,Inc',
          Santana et al. v.
17            3:23-cv-05147-EMC (N.D' CaL2023)
                                                                                   """""'r"!"' 7' ' lz

18        In re Schnuck Markets, Inc., Customer Dato Sec' Breach
                                                                   Litig''                   0 Ir,I 13
                                                                                         " trv'
              978 F. Supp. 2d1379 (J.P'M'L' 2013)""""'
r9
          In re: Supervalu, Inc., Customer Data Sec' Breach Litig''                                R 13
20
              67 F. Supp. 3d 1377 (J.P'M'L' 2014)""""'
2t
          In re: Torget Corp. Customer Data Sec' Breach Litig''                                    s 13
    22        11 F. Supp. 3d 1338 (J.P.M'L' 2014)""""'

    23     In re Wireless Tel. Fed. Cost Recovery Fees Litig''                              .........-.12
               293F. Supp. 2d1378 (J'P'M'L' 2003)""""'
    24
           In re Wireless Tel. Replacement lro!y!i^1n Programs
                                                                 Litig''                                   11
    25
               180 F. Supp. 2d 133l (J.P'M 'L'2002)""
    26
           In re Wireless Telephone 9l1 Calls Litig',                                          . -........9
    27         259 F . Supp. 2d 1372 (J.P'M'L' 2003)""""'

    28
            Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 7 of 44 PageID #:100
                 case Pending No. 47 Document L-1 Filed t2l2Ll23 Page 5 of 1-4



1        In re Yosemite National Park Hantavirus Litigation,                                     ...............9
             24 F. Supp. 3d 1370 (J.P.M.L' 2014)""""'
2
         In re Zappos.com, Inc., Customer Data Sec' Breach Litig''                                            13
J
             867 F. Supp.2d 1357 (J.P.M.L'2012)""
4
         State Cases
5
         Morgenstern v. 2 3andMe,
6           T-23-14g0(San Francisco County Superior Court, December
                                                                    4,2023)                           """""7

7        Vasquez v.23andMe Inc.
             23CY424gg6 (California Superior court - santa clara county
                                                                          oct. 31, 2023)""""'         """""7
8
         Federal Statutes
9
         28 U.S.C. $   1407.......                                                  """"'6',7',8',9'10'll'12
10

11


12

13

t4
15

t6
17

18

t9
20

21

22

23

 24

    25

    26

    27

    28
        Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 8 of 44 PageID #:101
              case Pending No. 47 Document l--1 Ftled L2l2Ll23 Page 6 of 14



I       I.      INTRODUCTION

2            23andMe, Inc., 23andMe Pharmacy Holdings, Inc., 23andMe Holding Co. (collectively,
a    ,,23andMe,,) respectfully move for an Order transferring the thirty-one (31) cases listed in the attached
J

4    Schedule of Actions (individually, an "Action," and collectively, "the Actions"), as well as any cases

5    subsequently filed involving similar facts or claims ("tag-along cases"), to the United States District Court

6    for the Northern District of California for consolidated pretrial proceedings. The Actions are textbook

7    examples of cases appropriate for consolidation and transfer pursuant to 28 U.S.C. $ 1407.

 8           The Actions all assert claims arising from an alleged data security incident in which, as a result of

 9   23andMe users recycling their 23andMe passwords on multiple platforms apart from 23andMe, an

10   unauthorized actor was able to access certain 23andMe customer profile information that such customers

     chose to make available to their genetic relatives through the 23andMe application (the "Incident").
                                                                                                             Each
11


t2   Action arises from the same set of alleged facts, and the judges in each Action will be required to oversee

13   much of the same discovery and rule on common issues including standing, affrrmative defenses, and

t4   standard of care. Litigation of the core issues and defenses will involve substantially the same fact

15   discovery, including discovery related to the Incident, the putative classes, and fact and expert witness

16   depositions. Centralization will serve the interests of the parties and the District Courts by greatly

     enhancing efficiency and convenience and will further prevent parallel litigation in multiple courts
                                                                                                              that
t7
18   risks inconsistent outcomes and duplicative work.

19           Based on the large (and increasing) number of actions, jurisdictions, and counsel involved, informal

20   coordination is not a viable alternative to streamline the pretrial litigation process. Consolidating the

2t   Actions for pretrial matters will further the interests of efficiency while not causing any material delay.

22   The Actions were recently filed, no discovery has occurred, no depositions have been conducted, and

Z)   motions in response to the complaints and for class certification are months away. The time is, therefore,

24    appropriate for multi-district treatment.

25            Thus, 23andMe respectfully requests that all the related cases be consolidated in the Northem

26    District of California pursuant to 28 U.S.C. $ 1407.

27

28
       Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 9 of 44 PageID #:102
             Case Pending No. 47 Document 1-1 Flled L2l2Ll23 Page 7 ot L4




 I       il.      FACTUAL AND PROCEDURAL BACKGROUND

2              23andMe is a genomics and biotechnology company with its principal place of business in South

J    San Francisco, California. In and around the beginning of October 2023,23andMe learned that certain

4    customer profile information was accessed without permission as a result of a subset of 23andMe users

5    recycling, and not updating, their 23andMe passwords on other platforms and websites that had been the

6    subject of earlier data breaches.

 7             Following 23andMe's prompt disclosure of the Incident on October 6,2023, consumers claiming

 8   that their information was involved in the Incident began filing putative class action lawsuits across the

 9   country. The first Action was filed on October 9,2023 in the Northern District of California by plaintiffs

l0   Monica Santana and Paula Kleynburd. See Santana et al. v. 23andMe, Inc.,3:23-cv-05147-EMC. Since

l1   then, approximately thirty-two (32) additional putative class action lawsuits have been filed by alleged

t2   23andMe customers in state and federal courts around the country. Of the Actions, the majority (twenty-

13   nine) have been filed in the Northern District of California, but two are pending outside of that District in

l4   the Central District of California and Northern District of Illinois. Gill v. 23andMe, Inc., 8:23-cv-02387

15   FWS (DFMx); Bacus v. 23andMe, Inc. l:23-cv-16828.1

t6             On November 30, 2023, Judge Chen issued an Order Relating Cases, finding twenty-two Actions

17   pending in the Northern District of California are related to the earlier-filed Santana action. ,See ECF No.

18   33.2 The last action against 23andMe was filed on December 15, 2023. Rivers v. 23andMe Holding Co.,

t9   23andMe, Inc.,3:23-cv-06481. Given the ongoing filing of putative class actions over the last two-and-a-

20   half months,23andMe expects that lawsuits allegedly arising from the Incident will continue to be filed.

2t             The Actions all encompass the same nationwide class ofpersons in the United States, and all actions

22   arise from the same alleged security breach.

23
     I There are also two California lawsuits alleging state sub-classes in which the named Plaintiffs reside. Vasquez v.23andMe
24   Inc. 23CY424996 (California Superior Court - Santa Clara County Oct. 31, 2023); Morgensternv. 23andMe, T-23-1490 (San
     Francisco County Superior Court, December 4, 2023). T\e Vasquez and Morgenstern matters will not be removed to federal
25   court, because their classes consist exclusively of and are limited to, California citizens, so there is no diversity of citizenship
     and thus no basis for removal under CAIA. See Vasquez Compl. tflf 67, 68; Morgenstern Compl. fl 5l'
26
     2
       The Order Relating Cases (ECF No. 33) provides that the cases below, by case number, are related to this action and have
     been reassigned to Judge Chen: 3:23-cv-05200-EMC;3:23-cv-05579-EMC; 3:23-cv-05281-EMC; 3:23-cv'05178-EMC; 3:23-
     cv-05198-EMC;3:23-cv-05234-EMC;3:23-cv-05259-EMC;3:23-cv-05302-EMC;3:23-cv'05323-EMC;3:23-cv-05332-
27
     EMC; 3:23-cv-05341-EMC; 3:23-cv-05345-EMC; 3:23-cv-05369-EMC; 3:23-cv'05419-EMC; 3:23-cv'05439-EMC; 3:23'cv-
     05464-EMC; 3:23-cv-05541-EMC; 3:23-cv-05548-EMC; 3:23-cv-05565-EMC; 3:23-cv-05635-EMC; 3:23-cv-05677-EMC;
28
     3 :23 -cv -057 17-EMC; 3 :23 -cv -057 68-EMC; 3 :23 -cv -057 79-EMC.
       Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 10 of 44 PageID #:103
              Case Pending No. 47 Document 1-1 Filed 12121123 Page I of t4




 I       M.      ARGUMENT

 2              A.      The Actions Satisfy the Requirements of Section 1407

 J           Section 1407 authorizes transfer and consolidation of actions pending in different federal courts

 4   where there are "common questions of fact," and transfer "will be for the convenience of parties and

 5   witnesses" and "will promote the just and efficient conduct of such actions." 28 U.S.C. $ 1407(a). The

 6   Panel balances these three criteria towards the overall statutory purpose of achieving efficiencies in the

 7   pretrial process; no individual criteria is determinative. In re Cessna Aircraft Distrib'ship Antitrust Litig.,

 8   460 F. Supp. 159, 16l-62 (J.P.M.L. 1978). Each is satisfied here.

 9                      1. The Actions Involve Common Factual Allegations
10           When evaluating the propriety of transfer of an action under Section 1407, the Panel must first

11   determine whether common factual issues are present. In re General Adjustment Bureau Antitrust

t2   Litigation,375F. Supp. 1405,1406 (J.P.M.L 1973). "[W]hentwo ormore complaints assertcomparable
13   allegations against identical defendants based upon similar transactions and events, common factual

t4   questions are presumed." In re Air West, Inc. Sec. Litig.,384 F. Supp. 609, 6l I (J.P.M.L 1974); see also

15   In re Capital One Customer Data Sec. Breach Litig.,396 F. Supp. 3d 1364, 1365 (8.D. Va. 2020) (the
16   Panel determined that Centralization actions involving same data security breach was waffanted because

17   actions involved common questions of fact); In re: Supervalu, Inc., Customer Data Sec. Breach Litig., 67

18   F. Supp. 3d 1377 ,1378 (J.P.M .L.2014) (centralizing proceedings because "actions share factual questions

19   arising from a data security breach . . . [a]ll of the actions involve allegations that customers' personal

20   financial information was compromised as a result of this data security breach").

2l          Here, the Actions all involve substantially similar legal theories arising from the same alleged

22   facts-an unauthorized actor's alleged access to customer information provided by 23andMe users-and
Z)   all involve the same putative class of persons in the United States and putative sub-classes of persons in

24   various states across the country. Thus, common factual questions are presumed. In re Air West, 384 F.

25   Supp. at 61 1.

26           That the Actions contain different claims are asserted under different consumer protection statutes

27   does not weigh against consolidation and transfer under Section 1407. "The mere fact that divergent legal

28   theories are asserted arising out of the same substantive claims and allegations presents no bar to a Section
       Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 11 of 44 PageID #:104
              Case Pending No. 47 Document 1-1 Filed t2l2Ll23 Page 9 of 14




 I   1407 transfer." Id; see also In re MOVEit Customer Data Sec. Breqch Litig., 2023 WL 6456749, at *3

 2   (J.P.M.L. Oct. 4,2023) (consolidating security breach cases involving different defendants and claims
 a
 J   because "parties can obtain significant efficiencies by placing all actions concerning the vulnerabilities in

 4   the [] software before a single judge."). Further, 23andMe will assert the same or substantially similar

 5   defenses across nearly all Actions, which further supports centralization. For example, in In re Yosemite

 6   National Park Hantavirus Litigation, 24 F. Supp. 3d 1370, 1370 (J.P.M .L. 2014), the Panel consolidated

 7   actions because "not only will these actions involve common questions with regard to the alleged

 8   negligence of the defendants, but it is anticipated that the United States will assert jurisdictional defenses

 9   under the Federal Tort Claims Act (FTCA)." As the Panel concluded, "such defenses . . . often entail

t0   complicated and lengthy discovery practice. Such discovery will be common across all the actions." Id.

1l   The same is true of the Actions here.

I2                      2.      Centralization Is Necessary to Protect Against Inconsistent Judgments and

13                              Duplicative Discovery

l4           Courts have found that centralization under Section 1407 is appropriate to "eliminate duplicative

l5   discovery; prevent inconsistent pretrial rulings" (especially with respect to class certification), and

t6   "conserve the resources of the [] parties, their counsel, and the judiciary." In re: Target Corp. Customer

t7   Dota Sec. Breach Litig.,11 F. Supp.3d 1338, 1339 (J.P.M.L.2014) (centralizingdata security breach

18   actions"); In re Wireless Telephone 9ll Calls Litig.,259 F. Supp. 2d 1372, 1373 (J.P.M.L. 2003).

19   Centralization promotes judicial economy because the transferee judge can order coordinated briefing and

20   other appropriate mechanisms to screen non-meritorious claims and issue categorical rulings that apply to

2t   multiple cases. See In re Proton-Pump Inhibitor Prods. Liab. Litig. (No. ID,26l F. Supp. 3d at 1354-55

22   (J.P.M.L. 2017) (noting that the transferee judge "can employ any number of techniques, such as

23   establishing separate discovery and motion tracks, to manage pretrial proceedings efficiently" and "has

24   substantial discretion to refine the litigation's parameters").

25           Here, transfer and consolidation of the Actions is necessary to conserve court resources and reduce

26   duplicative discovery. Without consolidation, discovery will necessarily be repeated across the Actions,

27   because the Actions arise from the same events, allege compromise of the same information, and likely

28   entail the same relevant documents. The number of different jurisdictions, different judges, different
       Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 12 of 44 PageID #:105
             Case Pending No. 47 Document 1-1 Flled 12121,123 Page 10 of L4




 I   schedules, and different plaintiffs' counsel make informal coordination of these cases highly impracticable

 2   and burdensome on the parties, third parties, and the various courts. Expert discovery related to damages

 J   or liability issues will necessarily overlap in each action. Transfer is appropriate to mitigate these redundant

 4   proceedings.

 5           Transfer is also necessary to avoid inconsistent rulings if the Actions proceed separately.

 6   23andMe's defenses, including plaintiffs' comparative liability and those based on lack of standing and the

 7   economic loss rule, are similar in each case. Further, because the Actions involve the same putative class,

 8   class certification should be decided in one proceeding, not by many courts with jurisdiction over the same

 9   putative class. The potential for inconsistent rulings warrants transfer and consolidation. See In re Home

10   Depot, Inc. Customer Data Sec. Breach Litig.,65 F. Supp.3d 1398, 1399 (J.P.M.L.2014) ("All of the

11   actions contain allegations that customers' personal financial information was compromised as a result of

t2   this data security breach. Centralization thus will . . . prevent inconsistent pretrial rulings, particularly with

13   respect to class certification").

14           The procedural posture of the Actions supports consolidation. 8.9., In re Schnuck Markets, Inc.,

15   Customer Data Sec. Breach Litig.,978 F. Supp. 2d 1379,1381 (J.P.M.L.2013) (concluding "centralization

16   is most appropriate now," at early stage where data breach affected millions of customers, before
17   "additional tag-along actions also may be filed in this litigation."). To date, no discovery has been

18   propounded, no responsive pleadings have been filed, the deadline to respond to the pleadings has been

t9   extended until at least January 2,2024, and the schedule for briefing class certification has not been set.

20   No party has been forced to incur the costs and expend the efforts to propound discovery or engage in

2t   motion practice in an Action. The Panel should intervene at this early stage to transfer the Actions for

22   coordinated or consolidated pretrial proceedings before additional actions will be filed.

23                       3.      Consolidation and Transfer Will Serve the Convenience of the Parties and

24                               Witnesses

25           Transfer under 28 U.S.C.S. $ 1407 is appropriate only where, as here, transfer serves the

26   convenience of parties and witnesses. Consolidation and transfer will best serve the convenience of

27   23andMe and the majority of plaintiffs. 23andMe has its headquarters near the Northern District of

28   California, and most of the plaintiffs purport to be residents of that district. Conversely, proceeding outside


                                                           10
       Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 13 of 44 PageID #:106
              Case Pending No. 47 Document 1-1 Filed L2l2Ll23 Page LL of L4




 1   the Northem District of California is prejudicial to both parties, especially 23andMe, given its presence rn

 2   South San Francisco. In re Arc Airbag Inflators Prods. Liab. Litig., 648 F. Supp. 3d 1378, 1380 (J.P.M.L.

 J   2022); In re Kia Hyundai Vehicle Thefi Litig.,2022U.S. Dist. LEXIS 230160 (J.P.M.L. Dec. 13, 2022),

 4   transferred, 2023 U.S. Dist. LEXIS 102833 (C.D. Cal. June 13, 2023) (holding that Central District of

 5   California was appropriate forum where the main defendants were based in Orange County, California

 6   because centralization served convenience of parties and witnesses, promoted just and efficient conduct of

 7   litigation, and offered substantial opportunity to streamline pretrial proceedings).

 8           Declining to consolidate these cases will result in significant prejudice to 23andMe because of the

 9   likelihood that additional actions will be filed, potentially in other districts. See In re Schnuck., 978 F. Supp.

10   2d at l38l; In re Glaceau VitaminWater Mktg. & Sales Practices Litig.,764 F. Supp. 2d 1349, l35l

11   (J.P.M.L. 2011) (consolidating three putative class actions where "it seems likely that additional related

12   actions could be filed"). See Inre Foot Locker, Inc. Wage & Hour Litig.,787 F. Supp.2d 1364 (J.P.M.L.

13   20ll) (centralizing four putative class actions because discovery for the defendant would overlap and
t4   because related class actions may arise); Inre Charlotte Russe, Inc. FACTA Litig.,505 F. Supp.2d1377,

15   1378 (J.P.M.L.2007) (ordering transfer of two putative class actions and one tag-along class action that

16   raised coillmon issues). Thus, this Motion should be granted, and the Actions consolidated before one court.

17                       4.      There is Sufficient Numerosity to Support Transfer and Consolidation

18           There have already been 32 cases filed regarding this matter in the United States. Moreover, it is

t9   likely that additional cases will be filed, potentially in a multitude of additional districts, making transfer

20   and consolidating essential. E.g., In re Schnuck,978 F. Supp. 2d at 1381. The Panel has routinely ordered

2l   transfer and consolidation of five or fewer cases. See In re Wireless TeL Replacement Protection Programs

22   Litig.,180 F. Supp. 2d 1381, 1382 (J.P.M.L.2002) (granting transfer and centralization of three consumer

23   protection cases and determining that pending motions can be presented to and decided by the transferee

24   judge); In re Phila. Life Ins. Co. Sales Practices Litig.,l49 F. Supp. 2d937,938 (J.P.M.L. 2001) (granting

25   transfer of two deceptive insurance sales cases and finding that such transfer would promote the just and

26   efficient conduct of the litigation); In re Amoxicillin Patent & Antitrust Litig., 449 F . Supp. 601, 603

27   (J.P.M.L. 1978) (granting transfer of three cases involving patent and antitrust issues); In re Alodex Corp.,

28   380 F. Supp. 790, 791 (J.P.M.L.1974) (granting transfer of three securities actions).



                                                           ll
           Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 14 of 44 PageID #:107
                  Case Pending No. 47 Document l_-1 Filed L2lZ1,l23 page LZ of L4



     I           The Panel can consolidate cases that are pending in as few as two District Courts. For example, in

 2       In re Clark Oil & Refining Corp. Antitrust Litigation,364 F. Supp. 458,459 (J.P.M.L. 1969), the panel

 J       granted Illinois plaintiffs' motion to transfer an action pending in the Eastern District of Wisconsin to the

 4       Northern District of Illinois for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.

 5       $1407. The plaintiff in the Wisconsin action opposed the motion, arguing that "the minimal number of

 6       cases and relative simplicity of the common factual questions" support denial of the motion. Id. at459.

 7       The panel rejected this argument finding that "the greater complexity of factual issues presented
                                                                                                               [] and the
 8       presence of competing requests for class designation" made transfer necessary to avoid duplication of

 9       discovery and the possibility of inconsistent rulings. 1d

10               There is sufficient authority for transfer and consolidation of the actions against 23andMe.

11                   B.      The Actions Should be Consolidated in The Northern District of California

t2                The Northern District of California is the most appropriate venue for centralization of the Actions.

l3       The Panel tends to favor consolidation at the site of the first-filed and most advanced action. See, e.g., In

14       re Land Rover LR3 Tire Wear Products Liab. Litig.,598 F. Supp. 2d 1384,1386 (J.M.P.L.2OO9) ("The

l5       Central District of California is an appropriate transferee forum because the first-filed and most

t6       procedurally advanced actions are pending there."); In re Wireless Tel. Fed. Cost Recovery Fees Litig.,293

17       F. Supp. 2d 7378,1380 (J.P.M .L.2003) (transferring cases to a district which, among other things, presides

l8       over "the first-filed and furthest advanced actions"). Here, the first-filed action, Santana et al. v. 23andMe,

19       Inc.,was filed in the Northern District of California on October 9,2023.

20              Moreover, the majority (29) of the actions are pending in the Northern District of California. This,

2l       too, militates towards consolidation in the Northern District of California. In re Home Depot,65 F. Supp.

22       3d at 1400 (centralizing data breach actions to district near defendant's headquarters since "[n]ineteen of

23       the thirty-one actions and potential tag-along actions" were pending there, and "the district is easily

24       accessible for the parties in this litigation"); Conseco Life Ins. Cost of Ins. Lit.,323 F. Supp. 2d 1381, 1383

25       (J.P.M.L. 2004) (centralizing where a "plurality of cases" were pending). The Actions pending in the

26       Northern District of California will likely encompass the greatest number of potential class members. The

27       Actions pending outside the Northem District of Califomia are brought on behalf of putative classes of

28       only California and Illinois residents, as compared to the putative nationwide classes that plaintiffs in the


                                                              T2
           Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 15 of 44 PageID #:108
                  Case Pending No. 47 Document 1-1 Filed LZl2il23 page L3 ot L4




     I   Northern District of California Actions seek to represent. See In re MOVEit, 2023 WL 6456749, at *3

 2       ("While we are aware that centralization may pose some inconvenience to some parties, in deciding issues
     a
 J       of transfer under Section 1407, we look to the overall convenience of the parties and witnesses, not just

 4       those of a single plaintiff or defendant in isolationJ'); In re Crown Life Premium Litig., 178 F. Supp. 2d

 5        1365,1366 (J.P.M.L. 2001) ("[W]hile transfer of a particular action might inconvenience some parties to

 6       that action, such a transfer often is necessary to further the expeditious resolution of the litigation taken as

 7       a whole.").

 8               Further, 23andMe is headquartered in Northern District of California, providing another basis for

 9       transferring all federal actions (and possible tag-along actions) to the District. Because its principal place

l0       of business is in the Northern District of Califomia, most witnesses and documents---€.g., its servers and

11       its employees handling the Incident-will be located in the District. See In re Zappos.com, Inc., Customer

t2       Data Sec. Breach Litig.,867 F. Supp. 2d 1357,1358 (J.P.M .L.2Ol2) (transferring to district that ,,has the

l3       strongest connection to this litigation, inasmuch as [defendant] is based [there] . personnel who

t4       responded to the data breach are located in this district, as are the servers from which customer data was

15       obtained, in addition to other potentially relevant documents and witnesses"). The Panel has consistently

t6       transferred data breach cases coordinated as MDLs to the district where the defendant is headquartered, as

t7       "relevant documents and witnesses thus likely will be found there." E.g., In re Equifax, Inc., Customer

18       Data Sec. Breach Litig.,298F. Supp.3d 1322,1326 (J.P.M.L 2017); Inre Maniott Int'1, hnc.,363 F. Supp.

19       3d 1372, 1374-75 (J.P.M.L. 2019) (same); In re Targel, 11 F. Supp. 3d at 1339 (same); In re Supervalu,

20       67 F. Supp. 3dat1378 (same); Inre Schnuck,978 F. Supp. 2dat1381-82 (same); Inre Zappos.com,867

2t       F. Supp. 2d at 1358 (same).

22               Since 23andMe's records, principals, and employees are in the Northern District of California,

23       centralization in that district will allow potential 23andMe witnesses and persons most qualified to

24       participate in discovery more freely. A proposed transferee forum's accessibility to parties and witnesses

25       is a factor that the Panel has given significant weight in choosing transferee forums. See, e.g., In re MOVEit,

26       2023 WL 6456749, at *3 ("Relevant employees likely are based in this district, where potentially relevant

27       databases, documents, witnesses, and other evidence also may be found"); In re Hypodermic prods.

28



                                                              l3
             Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 16 of 44 PageID #:109
                    Case Pending No. 47 Document 1-1 Filed L2l2Ll23 page L4 oI L4




     I   Antitrust Litig.,408 F. Supp. 2d 1356,1357 (J.P.M.L 2007) (choosing transferee forum, in part, because it

 2       was "easily accessible").3

 J                For all of these reasons, the Northern District of California is the appropriate choice for the MDL

 4       proceedings.

 5            IV.      CONCLUSION

 6                For the reasons stated in this Memorandum and accompanying Motion, 23andMe respectfully

 7       requests that this Panel enter an order transferring the actions on the attached Schedule of Actions to the

 8       Northern District of California for consolidated pretrial proceedings.

 9
         DATED: December 21,2023                               GREENBERG TRAURIG, LLp
l0
11                                                    By:        /s/ Ian C. Ballon
                                                               Ian C. Ballon
t2                                                             GREENBERG TRAURIG, LLP
                                                               Ballon@gtlaw.com
13
                                                               1900 University Avenue, 5th Floor
t4                                                             East Palo Alto, Califomia94303
                                                               Tel: 650-289-788 1; Fax: 650-4 62-7881
15                                                             Attorney s for Defendan t, 23 andMe, Inc., 23 andMe
                                                               Pharmacy Holdings, lnc.,23andMe Holding Co.
t6

t7
18

t9

20

2t

22

Z)

24

25

26

27       3
           Additionally, the presence of numerous state court actions near the Northem District of California also weighs in favor of
         transfer and consolidation there. E.g., In re Zappos.com, 867 F. Supp. 2d at 1358 ('With a pending Nevada state court action,
28
         centralization in the District of Nevada will facilitate coordination between the federal and state court action.").



                                                                     t4
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 17 of 44 PageID #:110
        Case Pending No.47 Document L-2 Filed 12121,123 Page 1 of 5




                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                               MULTIDISTRICT LITIGATION

                             Inre 23andMe, NC. MDL No. l:23-P-47

                                  SCHEDULE OF ACTIONS

                                                   i.::.           ai fr6?iiduil,xl   t!;,1,,1;; ll.t::t:t:i',,1 :
                                                                                                                     ;JS
Plaintiffs: Monica             Northem District    3:23-cv-05147                        Hon. Edward M.
Santana And Paula              of California                                            Chen
Kleynburd, On Behalf Of        (San Francisco
Themselves And All             Division)
Others Similarly Situated
Defendant: 23andMe,
Inc.

Plaintifft Kerry Lamons,       Northern District   5:23-cv-05178                        Hon. Edward M.
Individually and on behalf     of California                                            Chen
of all others similarly        (San Francisco
situated                       Division)
Defendant: 23andMe,
Inc.
Plaintiff: Michelle            Northern District   5:23-cv-05198                        Hon. Edward M.
Andrizzi, individual ly and    of California                                            Chen
on behalfofall others          (San Francisco
similarly situated             Division)
Defendantz 23andMe,
Inc.
Plaintiff: Bonnie Eden,        Northern District   4:23-cv-05200                        Hon. Haywood
Daniel Pinho, Thomas           of California                                            S. Gilliam, Jr.
Seawright And Pamela           (San Francisco
Zager-Maya, on behalf of       Division)
themselves and all others
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: J.S., J.T., and     Northem District    5:23-cv-5234                         Hon. Edward M.
A.L., individually and on      of California                                            Chen
behalf of all others           (San Francisco
similarly situated             Division)
Defendantz 23andMe,
lnc.,23andMe Holding
Co.,23andMe Pharmacy
Holdinss.Inc.
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 18 of 44 PageID #:111
        Case Pending No. 47 Document 1-2 Flled !2121,123 Page 2 of 5




Plaintiff: Haris Mirza,       Northem District    23-cv-05259     Hon. Edward M.
individually and on behalf    of California                       Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Katianne           Northern District   4:23-cv-05281   Hon. Edward M.
Navarro and Michael           of California                       Chen
Blackwell, individually,      (San Francisco
and on behalfofall others     Division)
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: Caroline           Northern District   5:23-cv-05302   Hon. Edward M.
Greenberg, individually       of Califomia                        Chen
and on behalfofall others     (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Nichole Friend,    Northem District    4:23-cv-05323   Hon. Edward M.
Aaron Parra, And Mari         of California                       Chen
Rajamin, individually, and    (San Francisco
on behalf of all similarly    Division)
situated individuals
Defendant: 23andMe
Holding Co, A Califomia
Corporation; And Does I
Throush 50. Inclusive
Plaintiff: Alexandra          Northern District   5:23-cv-05332   Hon. Edward M.
Hoffman and Alexandra         of California                       Chen
Klawitter, individually       (San Francisco
and on behalf of all others   Division)
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: Adriane            Northem District    3:23-cv-05341   Hon. Edward M.
Farmer, individually and      of California                       Chen
on behalf of all others       (San Francisco
 similarly situated           Division)
Defendant: 23andMe,
Inc.
Plaintiff: Melanie            Northern District   23-CY-05345     Hon. Edward M.
Berman, Lisa Jones, Lyon      of California                       Chen
Leifer, Kathleen Canfi eld    (San Francisco
Loftus, Julia Hawkins,        Division)
 individually and on behalf
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 19 of 44 PageID #:112
        Case Pending No. 47 Document L-2 Flled L2121,123 Page 3 of 5




of all others similarly
situated
Defendant: 23andMe,
Inc.
Plaintiff: David              Northern District   5:23-cv-05369   Hon. Edward M.
Tulchinsky, individually      of California                       Chen
and on behalf of all others   (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Stephen L          Northern District   5:23-cv-05419   Hon. Edward M.
Seikel, individually and on   of California                       Chen
behalf of all others          (San Francisco
similarly situated            Division)
Defendantz Z3andMe,
Inc.
Plaintiff: Elaine Fralix,     Northern District   5:23-cv-05439   Hon. Edward M.
individually and on behalf    of California                       Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Harold Yelez,      Northern District   3:23-cv-05464   Hon. Edward M.
on behalf of himself and      of California                       Chen
all others similarly          (San Francisco
situated                      Division)
Defendantz 23andMe,
Inc.
Plaintiff: Laquisha           Northern District   5:23-cv-O5548   Hon. Edward M.
Smith, individually and on    of California                       Chen
behalfofall others            (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Max Alperstein     Northern District   5:23-cv-5541    Hon. Edward M.
And Arya Shoaee,              of California                       Chen
individually, and on behalf   (San Francisco
of all others similarly       Division)
situated
Defendant; 23andMe,
Inc.
Plaintiff: Nicholas Furia,    Northern District   4:23-cv-05565   Hon. Edward M.
on behalf of himself and      of California                       Chen
all others similarly          (San Francisco
situated                      Division)
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 20 of 44 PageID #:113
        Case Pending No. 47 Document 1-2 Flled 1212L123 Page 4 ot 5




Defendant: 23andMe,
Inc.
Plaintiff: Michael            Northern District   3:23-cv-05579   Hon. Donna M.
Schutz, Cody Vogel, and       of California                       Ryu
Eileen Mullen,                (San Jose
individually and on behalf    Division)
of all others similarly
situated
Defendant: 23andMe,
lnc.
Plaintiff: Thomas             Northern District   3:23-cv-05635   Hon. Edward M.
Vickery, individually and     of California                       Chen
on behalfofall others         (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Brianna            Northern District   5:23-cv-05677   Hon. Edward M.
Sorensen, and all similarly   of California                       Chen
situated individuals          (San Francisco
Defendantz 23andMe,           Division)
Inc.
Plaintifft John Doe,          Northern District   3:23-cv-05717   Hon. Edward M.
Individually and on behalf    of California                       Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Briana Dube,       Northem District    5:23-cv-05768   Hon. Edward M.
Individually And On           of California                       Chen
Behalf Of All Others          (San Francisco
Similarly Situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Brandon            Northem District    5:23-cv-05779   Hon. Edward M.
Molina, individually and      of California                       Chen
on behalfofall others         (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Melissa Ryan,      Northern District   3:23-cv-05968   Hon. Donna M.
individually and on behalf    Of California                       Ryu
of all others similarly       (San Jose
situated                      Division)
Defendant: 23andMe,
Inc.
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 21 of 44 PageID #:114
        Case Pending No. 47 Document 1-2 Flled 12121,123 Page 5 of 5




Plaintiff: Tracy Scott,      Northern District   3:23-cv-05980        Hon. Laurel
Anna Daveiga, And Emily      Of California                            Beeler
Beale On Behalf Of           (San Francisco
Themselves And All           Division)
Others Similarly Situated
Defendant: 23andMe
Holding Co. And
23andMe. [nc.
Plaintiff: Polina Ioffe,     Northern District   5:23-cv-06205        Hon. Nathanael
individually and on behalf   of California                            Cousins
of all others similarly      (San Francisco
situated                     Division)
Defendant: 23andMe,
Inc.
Plaintiff: Kristen Rivers,   Northern District   3:23-cv-06481        Hon. Donna M.
individually and on behalf   of California                            Ryu
of all others similarly      (San Jose
situated                     Division)
Defendant: 23andMe,
Inc.,Z3andMe Holding
Co.

Plaintiff: Dhaman Gill,      Central District    8:23-cv-02387-FWS-   Hon. Fred W.
individually and on behalf   of California       DFM                  Slaughter
of all others similarly      (Southem
situated                     Division)
Defendant: 23andMe,
Inc.
Plaintifft Michele Bacus,    Northern District   l:23-cv-16828        Hon. Manish S.
individually and on behalf   of Illinois                              Shah
of all others similarly
situated
Defendantz 23andMe,
Inc.
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 22 of 44 PageID #:115
              Case Pending No. 47 Document 1-3 Flled L2l2ll23 Page 1 of 11




                        BEFORE THE UNITED STATES JUDICIAL PANEL ON
                                          MULTIDISTRICT LITIGATION

                                        In re 23ANDME,INC. MDL No. l:23-P-47

                                                 Proof of Service

        I hereby certiff that a copy of the foregoing Motion for Transfer and Consolidation of the
23andMe, Inc. Litigation pursuant to 28 U.S.C. $ 1407, Brief in Support, Schedule of Actions, and
this Certificate of Service was served by Email and First Class Mail on December21,2023, to the
following:

Clerk, Northem D istrict California
San Francisco, CA

Clerk, Northern District California
San Jose, CA

Clerk, Central District of California
Santa Ana, CA

Clerk, Northern District of Illinois
Chicago,IL


 Santana, et al. v. 23andMe,Inc.                          Lamons v. 23andMe,Inc.
 (Case No. 3:23-cv-05 147-EMC)                            (Case No. 5:23-cv- 05178- EMC)
 Northern District of California                          Northern District of California

 Scott Edelsberg                                          Michael R. Reese
 EDELSBERG LAW, P.A.                                      mreese@reesellp.com
 s c o tt @e de I s b e r gl aw. c om                     100 West 93rd Street, 16th Floor
 1925 Century Park E #1700                                New York, New York 10025
 Los Angeles, CA 90067                                    Telephone: (212) 643 -0500
 Telephone: 305-97 5 -3320
                                                          George V. Granade
 Andrew J. Shamis                                         8484 Wilshire Boulevard, Suite 515
 SHAMIS & GENTILE, P.A.                                   Los Angeles, Californi a 90211
 l4 NE lst Avenue, Suite 400                              Telephone: (3 1 0) 393-0070
 Miami, FL 33132                                          ggr and a de @S e e s e I lp. c o m
 Telephone : 305 -47 9 -2299
 a s hami s @ hami s ge nt ile. c om                      Charles D. Moore REESE LLP
                                                          cmoore@reesellp.com
 Attorneys for Plaintiffs Santana and                     100 South 5th Street, Suite 1900
 Kleynburd                                                Minneapolis, Minnesot a 5 5 402
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 23 of 44 PageID #:116
       Case Pending No. 47 Document l--3 Filed t2l2ll23 Page 2 of 1.L




                                        Telephone: (212) 643 -0500

                                        Kevin Laukaitis LAU-
                                        KAITIS LAW LLC
                                        kl auknit i s @l auknit i s. c o m
                                        954 Avenida Ponce De Leon
                                        Suite 205, #10518
                                        San Juan, Puerto Rico 00907
                                        Telephone: (21 5) 7 89 -4462

                                        Attorneys for Plaintiff Lamons


Eden et al v. 23andMe, Inc.             J.S. et ul v. 23andMe, Inc., et al.
(Case No. 4:23- cv-05200-HSG)           (Case No. 5:23-cv-05234- EMC)
Northern District of California         Northern District of California

Melissa Emert
Gary S. Graifman                        Sharon J.Zinns
KANTROWIT Z, GOLDHAMER &                ZINNS LAW, LLC
GRAIFMAN, P.C.                          4243 Dunwoody Club Drive
135 Chestnut Ridge Road, Suite 200      Suite 104
Montvale, NJ 07645                      Atlanta, Georgia 30350
memert@kgglaw.com                       (404) 882-9002
ggraifman@kgglaw.com                    sharon@Sinnslqw.com
Telephone : (845) 35 6-257 0
Facsimile: (845) 356-4335               MaureenM. Brady
                                        Lucy McShane
David S. Casey                          MoS}IANE & BRADY,LLC
dcasey@cglow.com                        1656 Washington Street, Suite 120
Gayle M. Blatt                          Kansas City, MO 64108
gmb@cglaw.com                           Telephone: (816) 888-8010
P. Camille Guerra                       Facsimile : (81 6) 332-629 5
camille@cglm,.com                       mbr ady@mc shane br ady I ctw. c om
                                        lm c s hane @m c s hane b r ady I ow. c om
I 10 Laurel Street
San Diego, CA92l0l
Telephone: (619) 238-181 I
                                        Attorneys for Plaintiffs J.S., J.T., and A.L.
Facsimile: (619) 544-9232
CASEY GERRY SCHENK FRANCAVILLA
BLATT & PENFIELD, LLP

Attorneys for Plaintiffs Eden, Pinho,
Seaw risht. and Zaser-Mava
Mirzav. 23andMe,Inc.                    Navarro v. 23andMe, fnc.
(Case No. 3:23-cv- 05259- EMC)          (Case No. 4:23-cv- 05281-EMC)
Northern District of California         Northern District of California
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 24 of 44 PageID #:117
        Case Pending No. 47 Document 1-3 Filed 12123,123 Page 3 of 1L




                                       Scott Edward Cole
Seyed Abbas Kazerounian                Lauta Grace Van
Mona Amini                             Note
KAZEROTINI LAW GROUP, APC              COLE & VAN
ak@kazlg.com                           NOTE
mona@kazlg.com                         555 12th Street, Suite 2100
245 Fischer Avenue, Unit Dl            Oakland, California 94607
Costa Mesa, California 92626           Telephone: (5 I 0) 891 -9800
Telephone: (800) 400-6808              Facsimile: (510) 891-7030
Facsimile: (800) 520-5523              sec@colevannote.com
                                       lvn@colevannote.com
Attorneys for Plaintiff Haris Mirza
                                       Attorneys for Plaintiffs Navarro
                                       and Blackwell

Greenberg v. 23andMe, Inc.             Friend v. 23andMe, Inc.
(Case No. 5:23- cv-05302- EMC)         (Case No. 4:23-cv- 05323-EMC)
Northern District of California        Northern District of California

John J. Nelson
 MILBERG COLEMAN BRYSON PHILLPS        Kaveh S. Elihu
 GROSSMAN, PLLC                        Saima Ali Gipson
 402W Broadway, Suite 1760             1001 Wilshire Boulevard
 San Diego, CA92l0l                    Los Angeles, Californi a 90017
 Tel.: (858) 209-6941                  Telephone: (213) 382-2222
jnelson@milberg.com                    Facsimile: (213) 382-
                                       2230
Jeff Ostrow                            EMPLOYEE ruSTICE LEGAL GROUP" PC
KOPELOWITZ OSTROW FERGUSON             kelihu@yjlglaw.com
WEISELBERG GILBERT                     sali@Vjlglavv.com
One West Las Olas Blvd., Suite 500
Fort Lauderdale, Florida 33301         Attorneys for Plaintiffs Friend, Parrao and
Telephone: 95 4-525 -4100              Rajamin
o s tr ow @ko I rrwyer s. c o m



Attorneys for Plaintiff Greenberg

Hoffman et al v. 23andMe,Inc.          Farmer v. 23andMe,Inc.
(Case No. 3 :23-cv-05332-EMC)          (Case No. 5:23-cv- 05341-EMC)
Northern District of California        Northern District of California

John J. Nelson                         M. Anderson Berry
MILBERG COLEMAN BRYSON PHILLPS         Gregory Haroutunian
GROSSMAN, PLLC                         Brandon P. Jack
402W. Broadway, Suite 1760             CLAYEO C. ARNOLD
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 25 of 44 PageID #:118
        Case Pending No. 47 Document 1-3 Filed LZl21,l23 Page 4 of 1l




 San Diego, Califomia 9                     865 Howe Avenue
 Tel.: (858) 209-6941                       Sacramento, CA95825
jnelson@milberg.com                         Telephone: (916) 239 -47 7 8
                                            ab erry@i ust ic e 4yo u. com gharoutuni an@i us-
Marc E. Dann Brian D. Flick DANNLAW         tice 4you. co m bj ack@i us tice lyou. com
notices@dannlaw.com
                                            BenjaminH. Kleine
Thomas A. Zimmerman, Jr.                    KLEINE PC
ZIMMERMAN LAW OFFICES, P.C.                 95 Third Street,2nd
77 W. Washington Street, Suite 1220         Floor, #9048
Chicago, Illinois 60602                     San Francisco, CA 94103
(3 12) 440 -0020 telephone                  Telephone: 415 -465 -5655
(3 12) 440 -41 80 facsimile                 ben@kleinepc.com
tom@attorneyzim.com
                                            Attorneys for Plaintiff Farmer
Attorneys for Plaintiffs Hoffman and
Klawaitter

Berman et al v. 23andMe, Inc.               Tulchinslry v. 23 andMe, Inc.
(Case No. 4 :23-cv-05345-EMC)               (Case No. 5 :23- cv-05369-EMC)
Northern District of California             Northern District of California

Ross M. Good                                Michael R. Reese
LOFTUS & EISENBERG, LTD.                    mreese@reesellp.com
161 N. Clark, Suite 1600                    100 West 93rd Street, 16th Floor
Chicago, Illinois 60601                     New York, New York 10025
T: (312) 889-662s                           Telephone : (212) 643 -0500
r o s s @)ofiw ande i s e nb er g. c o m
                                            George V. Granade
William Aron ARON LAW FIRM                  ggr ondade @; e e s e I lp. c om
15 W Carrillo St, Suite 217                 8484 Wilshire Boulevard, Suite 515
Santa Barbara, CA                           Los Angeles, Califomia 90211
93101                                       Telephone: (3 1 0) 393-0070
T: (80s) 618-1768
bill@aronla,ufirm.com                       Charles D. Moore
                                            cmoore@;eesellp.com
Attorneys for Plaintiffs Berman, Hawkins,   100 South 5th Street, Suite 1900
Jones, Leifer, and Canfield Loftus          Minneapolis, Minnesota 5 5 402
                                            Telephone : (212) 643 -0500

                                            REESE LLP

                                            Courtney L. Weiner
                                            cw @c ourtnel+u e inerlaw. c om
                                            1629 K St. NW, Suite 300
                                            Woshington, DC 20006
                                            Teleohone : O02) 827-9980
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 26 of 44 PageID #:119
        Case Pending No. 47 Document L-3 Filed 1212L123 Page 5 of 11




                                                   LAW OFFICE OF COURTNEY WEINER
                                                   PLLC

                                                   Attorneys for Plaintiff
                                                   Tulchinslry

Seikel v. 23andMe, Inc.                            Fralixv. 23andMe,Inc.
(Case No. 5:23-cv- 0541 9-EMC)                     (Case No. 5:23-cv- 05439-EMC)
Northern District of California                    Northern District of California

Ben F. Pierce Gore                                 Eric M. Poulin
PIERCE GORE LAW FIRM, PC                           e r i c. poul in@po ul inw illey. c o m

315 Montgomery Street                              Blake G. Abbott
1Oth Floor                                         b I alre. ab b o tt@po ul inw ill ey. co m

San Francisco, CA 94104                            Paul J. Dooliule
(408) 806-4600                                     paul. do o I itt I e @po ul i nw i I I ey. c o m
piercegore@gmail.com                               32 Ann Street
                                                   Charleston, SC 29403
Charles J. LaDuca Brendan Thompson                 Telephone : (803) 222-2222
CLINEO GILBERT & LADUCA, LLP                       Fax: (843) 494-5536
4725 Wisconsin Avenue NW Suite 200                 POULIN WILLEY ANASTOPOULO, LLC
Washington, DC 2001 6 (202) 7 89 -3960
c har le s @cune olqw. com br endan@cune o   -     John Christian
law.com                                            yanni@bohrenlaw.com
                                                   8560 West Sunset Boulevard, 4th Floor
Charles Barreff                                    West Hollywood, CA 90069
Daniella Bhadare-Valente Morgan L. Burkett         Tel: 619-433-2803
NEAL & HARWELL, PLC                                Fax: 800-867-6779
1201 Demonbreun St.                                Bohren BOHREN LAW, APC
suite 1000
Nashville, TN 37203                                Attorneys for Plaintiff Fralix
(61s) 244-1713
cb arrett@ne alharw e ll. c om dbhadare -
vale nte @ne alharw e ll. com mburkett@ne alhar-
well.com

Attorneys for Plaintiff Seikel

Velezv. 23andMe,Inc.                               Smith v. 23andMe,Inc.
(Case No. 3:23-cv- 05464-EMC)                      (Case No. 5:23-cv- 05548- EMC)
Northern District of California                    Northern District of California

Karen Hanson Riebel Kate Baxter-Kauf               Nicholas A. Migliaccio
Maureen Kane Berg                                  4l2H Street NE, no. 302,
LOCKRIDGE GRINDAL NAUEN P.L.L.P.                   Washington,DC,20002
100 Washington Square, Suite 2200                  Office: (202) 470-3520
Minneaoolis- Minnesota 5540 I                      nmi sl i ac c io @c I as s I aw dc. c o m
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 27 of 44 PageID #:120
         Case Pending No. 47 Document 1-3 Filed t2lZil23 page 6 of 1j_




 Telephone: 612-339-6900
 Facsimile: 612-339-0981                            Jason S. Rathod
 khr ieb el@locklaw. com krnb axter -               j r atho d@c I as s I aw dc. c om
 kauf@lo ckl aw. com mkb er g@lo cklow. com
                                                    Matthew Smith
 Gayle M. Blatt                                     201 Spear Street, Suite 1100
 P. Camille Guerra                                  San Francisco, CA 94105
CASEY GERRY SCHENK FRANCAVILLA                      Tel: (831) 687-8255
BLATT & PENFIELD, LLP                               MIGLIACCIO & RATHOD LLP
1 10 Laurel Street
                                                    msm ith@c I a s s I aw dc. c om
San Diego, CA92l0l
Telephone: 619-238-1 81 1                           Attorneys for Plaintiff Laquisha Smith
Facsimile : 619 - 5 44-9232
gtnb @c glaw. com c amille @c glow. com

Gary F. Lynch
LYNCH CARPENTER, LLP
1133 Penn Avenue, 5th Floor
Pittsburg, PA 15222
Telephone: 412-322-9243
Facsimile : 412-23 I -0246
gary@lcllp.com

Attorneys for Plaintiff Yelez

Alperstein et al v. 23andMe, Inc.                   Furiav. 23andMe,Inc.
(Case No. 4:23-cv-05541 -EMC)                       (Case No. 4:23-cv- 05565-EMC)
Northern District of California                     Northern District of California

CLARKSON LAW FIRM, P.C.                             Matthew Smith
Ryan J. Clarkson                                    MIGLIACCIO & RATHOD LLP
r c I ar la o n@c I ar lcsonl awfirm. c o m         201 Spear Street, Suite 1100
Yana Hart                                           San Francisco, CA 94105
y har t @c I ar lcso nl aw. fi r m. c o m           Tel: (831) 687-8255
Tiara Avaness                                       msm i th@c I a s s I aw dc. c om
t ov ane s s @c I ar ks o nl anfi r m. c om
Valter Malkhasyan                                   Daniel E. Gustafson David A. Goodwin Matt
v ma I kh a sy an @c I ar lrso nl awfi r m. c o m   Jacobs
22525 Pacific Coast Highway                         GUSTAFSON GLUEK PLLC
Malibu, CA90265                                     120 South Sixth Street, Suite 2600
Tel: (213) 788-4050                                 Minneapolis, MN 55402
Fax: (213) 788-4070                                 Tel: (612) 333-8844
                                                    dgus t afs on@gus t afs on glue k. c o m dgoo d-
Attorneys for Plaintiffs Alperstein and             w in@gustafs onglue k. com mj ac o s @gustafson-
Shoaee                                              gluek.com

                                                    Attornevs for Plaintiff Furia
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 28 of 44 PageID #:121
         Case Pending No. 47 Document 1-3 Filed L2l2ll23 Page 7 of 11,




Schutz v. 23andMe Inc.                                        Vickery v. 23andMe,Inc.
(Case No. 3 :23-cv-05579)                                    (Case No. 3:23-cv- 05635-EMC)
Northern District of California                              Northern District of California

KAPLAN FOX & KILSHEIMER LLP                                  Rachele R. Byrd
Laurence D. King                                             WOLF HALDENSTEIN ADLER FREEMAN
Matthew B. George                                            &LfrRZLLP
Blair E. Reed                                                750 B Street, Suite 1820
1999 Harrison Street, Suite 1560                             San Diego, CA92101
Oakland, CA946l2                                             Telephone : (619) 239 -4599
Telephone: 415 -7 72-47 00                                   Facsimile : (619) 234-4599
Facsimile: 415 -7 72-47 07                                   byrd@whaJh.com
Email : lking@kaplanfox.com
m george @kaplanfox.com                                      Jon Tostrud
breed@kaplanfox.com                                          TOSTRUD LAW GROUP, PC
                                                             1925 Century Park East, Suite 2100
BARNOW AND ASSOCIATES, P.C.                                  Los Angeles, CA 90067
Ben Barnow*                                                  Telephone : 31 0 127 8-2600
Anthony L. Parkhill*                                         Facsimile: 310127 8-2640
205 West Randolph Street, Suite 1630                         j to str ud@to s tr udl aw. co m
Chicago,IL 60606
Telephone: 312-621-2000                                      Erik H. Langeland
Facsimile : 3 12-641 -5 504                                  ERIK H. LANGELAND, P.C.
Emai I : b.barnow@barnowlaw. com                             733 Third Avenue, l6th Floor
ap ark,},ill @barn owl aw. co m
                                                             New York, NY. 10017
                                                             Telephone : (212) 3 5 4-627 0
                                                             e I an ge I and@l ange I andl aw. c o m
Attorneys for Plaintiff Schutz and the
Proposed Class
                                                             Attorneys for Plaintiff Vickery
Sorensen v. 23 andMe, Inc.                                   Doe v. 23andMe,Inc
(Case No. 5 :23-cv-05677-EMC)                                (Case No. 3 :23-cv-0571 7-EMC)
Northern District of California                              Northern District of California

M. Anderson Berry                                            ROBBINS GELLER RUDMAN
Gregory Haroutunian                                          & DOWD LLP
Brandon P. Jack                                              DOROTHY P. ANTULLISX
CLAYEO C. ARNOLD                                             STUART A. DAVIDSON*
865 Howe Avenue                                              LINDSEY H. TAYLOR*
Sacramento, CA 95825                                         NICOLLE B. BRITO
Telephone: (916) 239-47 7 I                                  ALEXANDER C. COHEN*
Fac simile : (9 I 6) 924- 1 829                              NICOLLE B. BRITO
ab e rry @i us t i c e 4yo u. c o m ghar o utuni an@i us -   225 NE Mizner Boulevard, Suite 720
tic e 4you. com bj ack@j ustice 4you. c om                   Boca Raton,FL 33432
                                                             Telephone: 56 I /750-3000
William B. Federman                                          5611750-3364 (fax)
FEDERMAN & SF{ERWOOD
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 29 of 44 PageID #:122
         Case Pending No. 47 Document 1-3 Filed 12121123 page 8 of i-1




10205 N. Pennsylvania Ave.                 THE GRANT LAW FIRM, PLLC
Oklahoma City, OK 73120                    LYNDA J. GRANT*
-and-                                      521 Fifth Avenue, 17th Floor
212W. Spring Valley Road                   New York, NY 10175
Richardson, Texas 7508 I                   Telephone : 2121292-4441
Telephone: (405) 235- I 560                212/292-4442 (fax)
Facsimile : (405) 239 -21 12
wbf@federmanlaw.com                        LONGMAN LAW, P.C.
                                           HOWARD T. LONGMAN*
Attorneys for Plaintiff Sorensen           354 Eisenhower Parkway, Suite 1800
                                           Livingston, NJ 07039
                                           Telephone: 973 1994-2315
                                           973/994-2319 (fax)

                                           Attorneys for John Doe
Briana Dube v. 23andMe,Inc.                Andriai v. 23andMe, Inc.
(Case No. 5 :23-cv-O5 768-EMC)             (Case No. 5:23-cv-05 I 98)
Northern District of California            Northern District of California

John J. Nelson                             Daniel Srourian, Esq.
MILBERG COLEMAN BRYSON                     SROURIAN LAW FIRM, P.C.
PHILLPS GROSSMAN,LLC                       3435 Wilshire Blvd., Suite 1710
402W. Broadway, Suite 1760                 Los Angeles, Califomia 90010
San Diego, CA92l0l                         Telephone: (213) 47 4-3800
Telephone : (858) 209 -69 4l               Facsimile: (213) 47 l-4160
Fax: (858) 209-6941                        Email : daniel@slfla.com
Email : jnelson@milberg.com
                                           Attorneys for Plaintiff Andriz,zi
Jason P. Sultzer, Esq. **
270 Madison Avenue, Suite 1800
New York, NY 10016
Tel: (845) 483-7100
Fax: (888) 749-7747
sultzerj @the s ultzerlaw group. com

Charles E. Schaffer, Esq. **
LEVIN SEDRAN & BERMAN
510 Walnut Street, Suite 500
Philadelphia, PA 19106
Tel 215-592-1500
c schaffer@ lfsbl aw. com



Attorneys for PlaintiffDube the Proposed
Class
Brandon Molina v. 23andMe,Inc.             Tracy Scott v. 23andMe Holding Co.,
(Case No. 5 :23 -cv-05779-EMC)             23andMe,Inc"
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 30 of 44 PageID #:123
        Case Pending No. 47 Document l--3 Filed LZl21,l23 Page 9 of 11




Northern District of California           (Case No. 3:23cv5980)
                                          Northern District of California
Daniel E. Barenbaum
Christina M. Sarraf                       LEXINGTON LAW GROUP
425 Califomia Street, Suite 2300          MarkN. Todzo
San Francisco, CA 94104                   Patrick R. Carey
Telephone : (41 5) 433 -3200              Meredyth L. Merrow
Facsimile: (415) 433-6382                 503 Divisadero Street
Emai I : dbarenbaum @bermantabacco. com   San Francisco, CA 94117
c san af @b ermantabac co. c om           Telephone: (41 5) 91 3-7800
Patrick T. Egan                           Facsimile: (415) 7 59-41 12
Steven J. Buttacavoli                     mto dzo @lexl awgroup. c om
BERMAN TABACCO
One Liberty Square                        Joseph P. Guglielmo
Boston, MA 02109                          Carey Alexander
Telephone: (617) 542-8300                 SCOTT+SCOTT ATTORNEYS AT LAW
Facsimile: (617) 542-1194                 LLP
Email : pegan@bermantabacco.com           The Helmsley Building
sbuttacav o I i@b ermantab ac co. c om    230 ParkAvenue, 1 7th Floor
                                          New York, NY 10169-1820
Attorneys for Plaintiff Molina            Telephone : (212) 223 -6444
                                          Facsimile : (212) 223 -633 4
                                          j guglielmo@scott-scott.com
                                          calexander @s c ott- sc ott. com

                                          Attornevs for Plaintiff Scott
Ioffi v. 23andMe,Ine                      Rivers v. 23andMe Holding Co.,23andMe,
(Case No. 5:23-cv-06205)                  Inc.
Northern District of California           (Case No. 3 :23-cv-0648 1)
                                          Northern District of California
SCHUBERT JONCKHEER & KOLBE LLP
ROBERT C. SCHUBERT (rschubet@sjk.law      AZRA MEHDr (SBN 220406)
AMBER L. SCHUBERT (aschubert@sjk.law)     azr am@them ehd i fi rm. c om
2001 Union St, Ste 200                     The Mehdi Firm, PC
San Francisco, CA 94123                    95 Third Street
Tel: (415)788-4220                         2nd FloorNo. 9122
Fax: (415) 788-0161                        San Francisco, CA 94103
                                           Ph/Fax: (415) 905-8880
Attorneys for Plaintiff Ioffe              John C. Herman
                                          j herman@hermanj ones. com
                                          Candace N. Smith
                                          c smith @hermanj ones.   com

                                          HERMAN JONES LLP
                                          3424Peachtree Road N.E., Suite 1650
                                          Atlanta. Georsia 30326
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 31 of 44 PageID #:124
        Case Pending No. 47 Document 1-3 Filed 12121,123 Page 10 of 11




                                            Telephone: (404) 504-6500
                                            Facsimile: (404) 504-650 I

                                            Attorneys for Plaintiffs Rivers and the
                                            Prooosed Class
Melissa Ryan v. 23andMe Inc.                Dhaman Gill v. 23andMe,Inc.
(Case No. 3:23-cv-5968)                     (Case No. 8:23-cv-023 87-FWS-DFM)
Northern District of California             Central District of California

GLANCY PRONGAY & MURRAY LLP                 Michael R. Reese
Marc L. Godino                              mreese(Ereesellp.com
1925 Century Park East                      REESE LLP
suite 2100                                  100 West 93rd Street, l6th Floor
Los Angeles, CA 90067                       New York, New York 10025
Telephone: (3 I 0) 201 -91 50               Telephone : (212) 643 -0500
Facsimile: (310) 432-1495
Email : mgodino@glancylaw.com               George V. Granade
                                            ggr anade @re e s e I lp. com
Brian P. Murray                             REESE LLP
GLANCY PRONGAY & MURRAY LLP                 8484 Wilshire Boulevard, Suite 515
230 ParkAvenue, Suite 35 8                  Los Angeles, Californi a 9021 1
New York, NY 10169                          Telephone: (3 I 0) 393-0070
Tel: (212) 682-5340
Fax: (212)-884-0988                         Kevin Laukaitis
bmunay@glancylaw.com                        klaukaitis@laukaitislaw.com
                                            LAUKAITIS LAW LLC
LAW OFFICE OF PAUL C. WHALEN, P.C.          954 Avenida Ponce De Leon
Paul C. Whalen                              Suite 205, #10518
768 Plandome Road                           San Juan, PR 00907
Manhasset, NY 11030                         Telephone : (21 5) 7 89 -4462
Tel.: (516) 426-6870
paul@paulwhalen.com                         Attorneys for PlaintiffDhaman Gill

Attorneys for Plaintiff Ryan and the Pro-
 posed Class
 Bacus v. 23andMe,Inc.
(Case No. | :23 -cv -7 6828)
Yorthern District of lllinois

Andrea Gold
Hassan A. Zavareei
}zav ar e ei@tz le ga l. com
Glenn E. Chappell
gchapp ell@tzl e gal. com
David W. Lawler
dlawler@nlesal.com
 Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 32 of 44 PageID #:125
        Case Pending No. 47 Document 1-3 Filed 12121,123 page Lt oI L1_




 Leora N. Friedman
 lfrie dman@tzle gal. c om
 TYCKO & ZAVAREEI LLP
 2000 Pennsylvania Avenue NW
 Suite 1010
 Washington, D.C. 20006
 Telephone : (202) 97 3 -0900
 Facsimile : (202) 97 3 -09 50

 Attorneys for Plaintiff Michele Bacus




DATED: December 21, 2023                 GREENBERG TRAURIG. LLP


                                  By:      /s/ Ian C. Ballon
                                         Ian C. Ballon
                                         GREENBERG TRAURIG, LLP
                                         Ballon@gtlaw.com
                                         1900 University Avenue, 5th Floor
                                         East Palo Alto, Califomia94303
                                         Tel: 650-289-7881 ; Fax: 650-462-7 881
                                         Attorney s for Defendant, 23 andMe, Inc., 2 3 andMe
                                         Pharmacy Holdings, Inc., 23andMe Holding Co.
   Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 33 of 44 PageID #:126




                    BEFORE TIIE UNITED STATES JUDICIAL PANEL ON
                                       MULTIDISTRICT LITIGATION

                                In re 23ANDME, INC.         MDL No.
                                                                      -
                                             Proof of Service

        I hereby certiff that a copy of the foregoing Motion for Transfer and Consolidation of the
23andMe, Inc. Litigation pursuant to 28 U.S.C. $ 1407, Brief in Support, Schedule of Actions, and
this Certificate of Service was served by Email and First Class Mail on December 21,2023, to the
following:

Clerk, Northern District California
San Francisco, CA

Clerk, Northern District California
San Jose, CA

Clerk, Central District of California
Santa Ana, CA

Clerk, Northern District of Illinois
Chicago,IL


 Santana, et aL v. 23andMer Inc.                      Lamons v. 23andMe,Inc.
 (Case No. 3 :23-cv-05147-EMC)                        (Case No. 5:23-cv- 05178- EMC)
 Northern District of California                      Northern District of California

 Scott Edelsberg                                      Michael R. Reese
 EDELSBERG LAW, P.A.                                  mreese@reesellp.com
 s c ott @e de I s b er gl m,u. c om                  100 West 93rd Street, 16th Floor
 1925 Century Park E #1700                            New York, New York 10025
 Los Angeles, CA 90061                                Telephone: (212) 643 -0500
 Telephone: 305 -97 5-3320
                                                      George V. Granade
 Andrew J. Shamis                                     8484 Wilshire Boulevard, Suite 515
 SHAMIS & GENTILE, P.A.                               Los Angeles, Californi a 90211
 14 NE lst Avenue, Suite 400                          Telephone: (3 1 0) 393-0070
 Miami, FL 33132                                      ggr andade @y e e s e I lp. c o m
 Telephone: 305 -47 9 -2299
 a s hami s @shami s ge nt il e. c o m                Charles D. Moore REESE LLP
                                                      cmoore@reesellp.com
 Attorneys for Plaintiffs Santana and                 100 South 5th Street, Suite 1900
 Kleynburd                                            Minneapolis, Minnesota 5 5 402
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 34 of 44 PageID #:127



                                         Telephone: (212) 643 -0500

                                         Kevin Laukaitis LAU-
                                         KAITIS LAW LLC
                                         kl aukaiti s @l aukaiti s. c o m
                                         954 Avenida Ponce De Leon
                                         suite 205, #10518
                                         San Juan, Puerto Rico 00907
                                         Telephone: (21 5) 7 89 -4462

                                         Attorneys for Plaintiff Lamons


Eden et alv. 23andMe,Inc.                J.S. et alv. 23andMe,Inc., et al.
(Case No. 4:23- cv-05200-HSG)            (Case No. 5:23-cv-05234- EMC)
Northern District of California          Northern District of California

Melissa Emert
Ga.y S.Graifman                          Sharon J. Zinns
KANTROWIT Z, GOLDHAMER &                 ZINNS LAW, LLC
GRAIFMAN, P.C.                           4243 Dunwoody Club Drive
135 Chestnut Ridge Road, Suite 200       Suite 104
Montvale, NJ 07645                       Atlanta, Georgia 30350
memert@kgglaw.com                        (404) 882-9002
ggraifman@kgglaw.com                     sharon@innslaw.com
Telephone: (845) 3 56-257 0
Facsimile: (845) 356-4335                MaureenM. Brady
                                         Lucy McShane
David S. Casey                           McSHANE & BRADY,LLC
dcasey@cglaw.com                         1656 Washington Street, Suite 120
Gayle M. Blatt                           Kansas City, MO 64108
gmb@cglaw.com                            Telephone: (816) 888-8010
P. Camille Guerra                        Facsimile: (81 6) 332-629 5
camille@cglaw.com                        mb r ady @m c s han e br a dyl aw. c o m
                                         I m c s hane @mc s hane b r adyl aw. c o m
110 Laurel Street
San Diego, CA92I0L
Telephone: (619) 238-1 81 I
                                         Attorneys for Plaintiffs J.S., J.T., and A.L.
Facsimile: (619) 5 44-9232
CASEY GERRY SCHENK FRANCAVILLA
BLATT & PENFIELD, LLP

Afforneys for Plaintiffs Eden, Pinho,
Seawrisht . and Zaper-Mava
Mirza v. 23andMe, Inc.                   Navarro v. 23 andMe, Inc.
(Case No. 3:23-cv- 05259- EMC)           (Case No. 4:23-cv- 0528 1-EMC)
Northern District of California          Northern District of California
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 35 of 44 PageID #:128




                                        Scott Edward Cole
Seyed Abbas Kazerounian                 Laura Grace Van
Mona Amini                              Note
KAZEROUNI LAW GROUP, APC                COLE & VAN
ak@kazlg.com                            NOTE
mona@knzlg.com                          555 lzth Street, Suite 2100
245 Fischer Avenue, Unit Dl             Oakland, California 94607
Costa Mesa California 92626             Telephone: (5 1 0) 891 -9800
Telephone: (800) 400-6808               Facsimile: (5 l0) 891-7030
Facsimile: (800) 520-5523               sec@colevannote.com
                                        lvn@colevannote.com
Attorneys for PlaintiffHaris Mirza
                                        Attorneys for Plaintiffs Navarro
                                        and Blaclcwell

Greenberg v. 23andMe, Inc.               Friendv. 23andMe,Inc.
(CaseNo. 5:23- cv-05302- EMC)            (Case No. 4:23-cv- 05323-EMC)
Northern District of California          Northern District of California

John J. Nelson
MILBERG COLEMAN BRYSON PHILLPS           Kaveh S. Elihu
GROSSMAN, PLLC                           Saima Ali Gipson
402W Broadway, Suite 1760                I 001 Wilshire Boulevard
San Diego, CA92l0l                       Los Angeles, Californi a 90017
Tel.: (858) 209-6941                     Telephone : (213) 382-2222
jnelson@milberg.com                      Facsimile: (213) 382-
                                         2230
Jeff Ostrow                              EMPLOYEE ruSTICE LEGAL GROUP, PC
KOPELOWITZ OSTROW FERGUSON               kelihu@ejlglaut.com
WEISELBERG GILBERT                       sali@ejlglaw.com
One West Las Olas Blvd., Suite 500
Fort Lauderdale, Florida 33301           Attorneys for Plaintiffs Friend, Parra, and
Telephone : 9 54-525 -4100               Rajamin
ostrow@kolawyers.com

Attorneys for Plaintiff Greenberg

Hoffman et alv. 23andMe,Inc.             Farmerv, 23andMe,Inc.
(Case No. 3 :23-cv-05332-EMC)            (Case No. 5:23-cv- 05341-EMC)
Northern District of California          Northern District of California

John J. Nelson                           M. Anderson Berry
MILBERG COLEMAN BRYSON PHILLIPS          Gregory Haroutunian
GROSSMAN, PLLC                           Brandon P. Jack
402W. Broadway, Suite 1760               CLAYEO C. ARNOLD
   Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 36 of 44 PageID #:129



San Diego, California 9                     865 Howe Avenue
 Tel.: (858) 209-6941                       Sacramento, CA95825
jnelson@milberg.com                         Telephone: (9 I 6) 239 -47 7 8
                                            ab erry @i us t i c e 4y o u. c o m
Marc E. Dann Brian D. Flick DANNLAW         ghar outuni an@j u s ti c e 4y o u. c om
notices@dannlaw.com                         bj ac k@j u s t i c e 4y o u. c om

Thomas A. Zimmerman, Jr.                    BenjaminH. Kleine
ZIMMERMAN LAW OFFICES, P.C.                 KLEINE PC
77 W. Washington Street, Suite 1220         95 Third Street, 2nd
Chicago, Illinois 60602                     Floor, #9048
(3 12) 440 -0020 telephone                  San Francisco, CA 94103
(3 12) 440-41 80 facsimile                  Telephone: 415-465-5655
tom@attorneyzim.com                         ben@kleinepc.com

Attorneys for Plaintiffs Hoffman and        Attorneys for Plaintiff Farmer
Klawaitter

Berman et al v. 23andMe, Inc.               Tulchinsky v. 23 andMe, Inc.
(Case No. 4:23-cv-05345-EMC)                (Case No. 5 :23- cv-05369-EMC)
Northern District of California             Northern District of California

Ross M. Good                                Michael R. Reese
LOFTUS & EISENBERG, LTD.                    mreese@reesellp.com
161 N. Clark, Suite 1600                    100 West 93rd Street, 16th Floor
Chicago, Illinois 6060 I                    New York, New York 10025
T: (3t2) 889-662s                           Telephone: (212) 643 -05 00
r o s s @l oftus ande i s e nb er g. c om
                                            George V. Granade
William Aron ARON LAW FIRM                  ggr andade @S e e s ellp. com
15 W Carrillo St, Suite 217                 8484 Wilshire Boulevard, Suite 515
Santa Barbara, CA                           Los Angeles, California 90211
93 101                                      Telephone: (3 1 0) 393-0070
T: (805) 618-1768
bill@aronlawfirm.com                        Charles D. Moore
                                            cmoore@reesellp.com
Attorneys for Plaintiffs Berman, Hawkins,   100 South 5th Street, Suite 1900
Jones, Leifer, and Canfield Loftus          Minneapolis, Minnesota 5 5 402
                                            Telephone: (212) 643 -0500

                                            REESE LLP

                                            Courtney L. Weiner
                                            an @c ourtnew e inerlaw. c om
                                            1629 K St. NW, Suite 300
                                            Washington, DC 20006
                                            Telenhone : 002) 127-9980
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 37 of 44 PageID #:130



                                             LAW OFFICE OF COURTNEY WEINER
                                             PLLC

                                             Attorneys for Plaintiff
                                             Tulchinslry

Seikelv. 23andMe,Inc.                        Fralix v. 23andMe, Inc.
(Case No. 5 :23-cv- 0541 9-EMC)              (Case No. 5:23-cv- 05439-EMC)
Northern District of California              Northern District of California

Ben F. Pierce Gore                           Eric M. Poulin
PIERCE GORE LAW FIRM, PC                     er i c. p o ul in@p o ul inw ill ey. c om
315 Montgomery Street                        Blake G. Abbott
1Oth Floor                                   b I ake. ab b o tt
                                                                @p o ul inw il I ey. c om
San Francisco, CA 94104                      Paul J. Dooliule
(408) 806-4600                               p aul. do olittl e @pouliwv ill ey. c om
piercegore@gmail.com                         32 Am Street
                                             Charleston, SC 29403
Charles J. LaDuca Brendan Thompson           Telephone : (803) 222 -2222
CLINEO GILBERT & LADUCA, LLP                 Fax: (843) 494-5536
4725 Wisconsin Avenue NW Suite 200           POULIN WILLEY ANASTOPOULO, LLC
Washington, DC 20016 (202) 789-3960
charles@cuneolaw.com                         John Christian
brendan@cuneolaw.com                         yanni@bohrenlaw.com
                                             8560 West Sunset Boulevard, 4th Floor
Charles Barrett                              West Hollywood, CA 90069
Daniella Bhadare-Valente Morgan L. Burkett   Tel: 619-433-2803
NEAL & HARWELL, PLC                          Fax: 800-867-6779
1201 Demonbreun St.                          Bohren BOHREN LAW, APC
Suite 1000
Nashville, TN 37203                          Attorneys for Plaintiff Fralix
(6ts) 244-t713
cb arr ett@ne alharw ell. c om dbhadar e -
v al e nt e @n e al harw e I l. c om
mb ur ke tt@ne alharw e I l. c om


Attorneys for Plaintiff Seikel

Velezv. 23andMe,Inc.                         Smith v. 23andMe,Inc.
(Case No. 3:23-cv- 05464-EMC)                (Case No. 5:23-cv- 05548- EMC)
Northern District of California              Northern District of California

Karen Hanson Riebel Kate Baxter-Kauf         Nicholas A. Migliaccio
Maureen Kane Berg                            4l2H Street NE, no. 302,
LOCKRIDGE GRINDAL NAUEN P.L.L.P.             Washington, DC, 20002
100 Washington Square, Suite 2200            Offrce: (202) 470-3520
Minneaoolis- Minnesota 5 5 40 1              nmi sl i ac c i o @.cl as s I aw dc. c om
   Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 38 of 44 PageID #:131



Telephone: 612-339 -6900
Facsimile: 612-339 -0981                                 Jason S. Rathod
khri eb el@l o ckl qw. c om lcrnb axt er -              j r atho d@cl as sl aw dc. c om
lrauf@l o c kl m,u. c o m mkb er g@l o c kl aw. c o m
                                                        Matthew Smith
Gayle M. Blatt                                          201 Spear Street, Suite 1100
P. Camille Guerra                                       San Francisco, CA 94105
CASEY GERRY SCHENK FRANCAVILLA                          Tel: (831) 687-8255
BLATT & PENFIELD, LLP                                   MIGLIACCIO & RATHOD LLP
110 Laurel Street                                       msmith@cl as sl ow dc. c om
San Diego, CA92I0I
Telephone: 619-238-1 81 I                               Attorneys for Plaintiff Laquisha Smith
Facsimile : 61 9 - 5 44-9232
gmb @c gl aw. c om c amill e @c glaw. c om

Gary F.Lynch
LYNCH CARPENTER, LLP
1133 Penn Avenue, 5th Floor
Pittsburg, PA 15222
Telephone: 412-322-9243
Facsimile: 412-23 | -0246
gary@lcllp.com

Attorneys for Plaintiff Yelez

Alperstein et alv. 23andMe,Inc.                         Furiav. 23andMe,Inc.
(Case No. 4:23-cv-0554 1 -EMC)                          (Case No. 4:23-cv- 05565-EMC)
Northern District of California                         Northern District of California

CLARKSON LAW FIRM, P.C.                                 Matthew Smith
RyanJ. Clarkson                                         MIGLIACCIO & RATHOD LLP
r cl arlrs on@cl arks onl awfirm. c om                  201 Spear Street, Suite 1100
Yana Hart                                               San Francisco, CA 94105
yhar t @c I ar la onl awfir m. c o m                    Tel: (831) 687-8255
Tiara Avaness                                           msmith@cl as sl aw dc. c om
t av ane s s @c I ar lcs o nl awfir m. c o m
Valter Malkhasyan                                       Daniel E. Gustafson David A. Goodwin Matt
v mal kha sy an@cl ar la onl awfi r m. c o m            Jacobs
22525 Pacific Coast Highway                             GUSTAFSON GLUEK PLLC
Malibu, CA90265                                         120 South Sixth Street, Suite 2600
Tel: (213) 788-4050                                     Minneapolis, MN 55402
Fax: (213) 788-4070                                     Tel: (612) 333-8844
                                                        dgu s t afs o n@gus t afs on gl u e k. c om
Attorneys for Plaintiffs Alperstein and                 dg o o dtu in@gu s t afs o n gl u e k. c o m
Shoaee                                                  mj ac o s @gu s t afs on gl u e k. c o m

                                                        Attornevs for Plaintiff Furia
   Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 39 of 44 PageID #:132



Schutzv. 23andMe Inc.                         Vickery v. 23andMe,Inc.
(Case No. 3 :23-cv-05579)                     (Case No. 3 :23-cv- 05635-EMC)
Northern District of California               Northern District of California

KAPLAN FOX & KILSHEIMER LLP                   Rachele R. Byrd
Laurence D. King                              WOLF HALDENSTEIN ADLER FREEMAN
Matthew B. George                             &,HEP.ZLLP
Blair E. Reed                                 750 B Street, Suite 1820
1999Harrison Street, Suite 1560               San Diego, CA92l0l
Oakland, CA94612                              Telephone: (619) 239-4599
Telephone: 415-772-47 00                      Facsimile: (619) 234-4599
Facsimile: 415-772-47 07                      byrd@whaJh.com
Email : lking@kaplanfox.com
mgeorge@kaplanfox. com                        Jon Tostrud
breed@kaplanfox.com                            TOSTRUD LAW GROUP, PC
                                               1925 Cenntry Park East, Suite 2100
BARNOW AND ASSOCIATES, P.C.                    Los Angeles, CA 90067
Ben Barnow*                                    Telephone : 3 l0 127 8-2600
Anthony L. Parkhill*                           Facsimile : 3 I 0 I 27 8-2640
205 West Randolph Street, Suite 1630          j t o s tr ud@t o s trudl aw. c o m
Chicago, IL 60606
Telephone: 312-621 -2000                      Erik H. Langeland
Facsimile: 3 12-641 -5504                     ERIK H. LANGELAND, P.C.
Email : b.barnow@barnowlaw. com               733 Third Avenue, 16th Floor
aparkhill@barnowlaw.com                       New York, NY. 10017
                                              Telephone: (212) 3 5 4 -627 0
Attorneys for Plaintiff Schutz and the        el angel and@l an gel andl aw. c om

Proposed Class
                                              Attorneys for Plaintiff Vickery
Sorensen v. 23andMe, Inc.                     Doe v. 23andMe,Inc.
(Case No. 5 :23 -cv-05677-EMC)                (Case No. 3 :23-cv-0571 7-EMC)
Northern District of California               Northern District of California

M. Anderson Berry                             ROBBINS GELLER RUDMAN
Gregory Haroutunian                           & DOWD LLP
Brandon P. Jack                               DOROTHY P. ANTULLIS*
CLAYEO C. ARNOLD                              STUART A. DAVIDSONX
865 Howe Avenue                               LINDSEY H. TAYLOR*
Sacramento, CA 95825                          NICOLLE B. BRITO
Telephone: (91 6) 239-47 7 8                  ALEXANDER C. COHEN*
Facsimile: (9 16) 924-1829                    NICOLLE B. BRITO
ab erry@j us ti c e 4y ou. c om               225 NE Mizner Boulevard, Suite 720
ghar o utuni an@j u s t i c e 4y o u. c o m   Boca Raton,FL 33432
bj ac k@j us t i c e 4y o u. c o m            Telephone: 561 17 50-3000
                                              5611750-3364 (fax)
William B. Federman
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 40 of 44 PageID #:133



FEDERMAN & SHERWOOD                         THE GRANT LAW FIRM, PLLC
10205 N. Pennsylvania Ave.                  LYNDA J. GRANT*
Oklahoma City, OK 73120                     521 Fifth Avenue, 17th Floor
-and-                                       New York, NY 10175
2T2 W. Spring Valley Road                   Telephone: 2121292-4441
Richardson, Texas 7508 I                    212/292-4442 (fax)
Telephone: (405) 235-15 60
Facsimile : (40 5) 239 -21 12               LONGMAN LAW, P.C.
wbf@federmanlaw.com                         HOWARD T. LONGMANX
                                            354 Eisenhower Parkway, Suite 1800
Attorneys for Plaintiff Sorensen            Livingston, NJ 07039
                                            Telephone: 97 3 1994-2315
                                            9731994-2319 (fax)

                                            Attornevs for John Doe
Briuna Dube v. 23andMe,Inc.                 Andriai v. 23andMe, Inc.
(Case No. 5 :23-cv-05768-EMC)               (Case No. 5:23-cv-051 98)
Northern District of California             Northern District of California

John J. Nelson                              Daniel Srourian, Esq.
MILBERG COLEMAN BRYSON                      SROURIAN LAW FIRM, P.C.
PHILLPS GROSSMAN,LLC                        3435 Wilshire Blvd., Suite 1710
402W. Broadway, Suite 1760                  Los Angeles, California 90010
San Diego, CA92l0l                          Telephone: (213) 47 4-3800
Telephone: (858) 209 -6941                  Facsimile: (213) 47 l-4160
Fax: (858) 209-6941
                                            Email: daniel@slfla.com
Email : j nelson@milberg. com
                                            Attorneys for Plaintiff Andrizzi
Jason P. Sultzer, Esq. **
270 Madison Avenue, Suite 1800
New York, NY 10016
Tel: (845) 483-7100
Fax: (888) 749-7747
sultzeq @the sultzerlawgroup. com

Charles E. Schaffer, Esq. **
LEVIN SEDRAN & BERMAN
510 Walnut Street, Suite 500
Philadelphia, PA 19106
Tel 215-592-1500
cschaffer@ lfsblaw. com

Attorneys for Plaintiff Dube the Proposed
Class
Brandon Molina v. 23andMe,Inc.              Tracy Scott v. 23andMe Holding Co.,
(Case No. 5 :23-cv-05779-EMC)               23andMe,Inc.
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 41 of 44 PageID #:134



Northern District of California            (Case No. 3:23cv5980)
                                           Northern District of California
Daniel E. Barenbaum
Christina M. Sarraf                        LEXINGTON LAW GROUP
425 Califomia Street, Suite 2300           MarkN. Todzo
San Francisco, CA 94104                    Patrick R. Carey
Telephone: (41 5) 433 -3200                Meredyth L. Merrow
Facsimile : (41 5) 433 -6382               503 Divisadero Street
Email : dbarenbaum @bermarfiabacco. com    San Francisco, CA 94117
csarraf@bermantabacco. com                 Telephone: (41 5) 9 1 3-7800
Patrick T. Egan                            Facsimile: (415) 7 59-4112
Steven J. Buttacavoli                      mto dzo @lexl awgroup. com
BERMAN TABACCO
One Liberty Square                         Joseph P. Guglielmo
Boston, MA 02109                           Carey Alexander
Telephone: (617) 542-8300                  SCOTT+SCOTT ATTORNEYS AT LAW
Facsimile: (617) 542-1194                  LLP
Email : pegan@bermantabacco. com            The Helmsley Building
sbuttac avo I i @b ermarfiab ac co. c om    230 Park Avenue, 17th Floor
                                            New York, NY 10169-1820
Attorneys for Plaintiff Molina              Telephone: (212) 223 -6444
                                            Facsimile: (212) 223 -633 4
                                           j guglielmo@scott-scott.com
                                            calexander@scott- scott. com

                                           Attorneys for Plaintiff Scott
Ioffe v. 23andMe,Inc.                      Rivers v. 23andMe Holding Co.,23andMe,
(Case No. 5 :23-cv-06205)                  Inc.
Northern District of California            (Case No. 3 :23-cv-0648 1 )
                                           Northern District of California
SCHUBERT JONCKHEER & KOLBE LLP
ROBERT C. SCHUBERT (rschubert@sjk.law        AZRA MEHDr (SBN 220406)
AMBER L. S CHUBERT (aschubert@sj k.law)     azr arn@themehdifi rm. c om
2001 Union St, Ste 200                      The Mehdi Firm, PC
San Francisco, CA 94123                     95 Third Street
Tel: (415) 788-4220                         2nd Floor No. 9122
Fax: (415) 788-0161                         San Francisco, CA 94103
                                            Ph/Fax: (415) 905-8880
Attorneys for Plaintiff Ioffe               John C. Herman
                                           j herman@hermanj one s. c om
                                            Candace N. Smith
                                            csmith@hermanj ones. com

                                           HERMAN JONES LLP
                                           3424Peachtree Road N.E., Suite 1650
                                           Atlanta, Georsia 30326
   Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 42 of 44 PageID #:135




                                           Telephone: (404) 504-6500
                                           Facsimile: (404) 504-6501

                                           Attorneys for Plaintiffs Rivers and the
                                           Proposed Class
 Melissa Ryan v. 23andMe Inc.              Dhaman Gill v. 23andMe, Inc.
 (Case No. 3 :23-cv-5968)                  (Case No. 8:23-cv-02387-FWS-DFM)
 Northern District of California           Central District of California

 GLANCY PRONGAY & MURRAY LLP               Michael R. Reese
 Marc L. Godino                            mreese@reesellp.com
 1925 Centttry Park East                   REESE LLP
 Suite 2100                                100 West 93rd Street, l6th Floor
 Los Angeles, CA 90067                     New York, New York 10025
 Telephone: (3 10) 201-91 50               Telephone : (212) 643 -0500
 Facsimile: (310) 432-1495
 Email: mgodino@glancylaw.com              George V. Granade
                                           ggr anade @re e sellp. com
 Brian P. Murray                           REESE LLP
 GLANCY PRONGAY & MURRAY LLP               8484 Wilshire Boulevard, Suite 515
 230 P ark Avenue, Suite 35 8              Los Angeles, California 90211
 New York, NY 10169                        Telephone: (3 1 0) 393-0070
 Tel: (212) 682-5340
 Fax (212)-884-0988                        Kevin Laukaitis
 bmllrray@glancylaw.com                    klaukaiti s@laukaitislaw. com
                                           LAUKAITIS LAW LLC
 LAW OFFICE OF PAUL C. WHALEN, P.C.        954 Avenida Ponce De Leon
Paul C. Whalen                             suite 205, #10518
768 Plandome Road                          San Juan, PR 00907
Manhasset, NY 11030                        Telephone: (21 5) 7 89 -4462
Tel.: (516) 426-6870
paul@paulwhalen.com                        Attorneys for PlaintiffDhaman Gill

Attorneys for PlaintiffRyan and the Pro-
 posed Class
 Bacus v. 23andMe,Inc.
(Case No. I :23 -cv -l 6828)
tVorthern District of Illinois

Andrea Gold
Hassan A. Zavareei
hzav ar e ei @tzl e g al. com
Glenn E. Chappell
gchappell @tzlegal. com
David W. Lawler
dlawler@tzlesal.com
  Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 43 of 44 PageID #:136



 Leora N. Friedman
 lfriedman@tzlegal. com
 TYCKO & ZAVAREEI LLP
 2000 Pennsylvania Avenue NW
 Suite 1010
 Washington, D.C. 20006
 Telephone : (202) 97 3 -0900
 Facsimile: (202) 97 3 -09 5 0

           for Plaintiff Michele Bacus




DATED: December 22. 2023                 GREENBERG TRAURIG, LLP


                                  By:      /s/ Ian C. Ballon
                                         Ian C. Ballon
                                         GREENBERG TRAURIG, LLP
                                         Ballon@gtlaw.com
                                         1900 University Avenue, 5th Floor
                                         East Palo Alto, Califomia94303
                                         Tel: 650-289-788 I ; Fax: 650-462-7 881
                                         Attorneys for Defendant, 23andMe, Inc., 23andMe
                                         Pharmacy Holdings, lnc, 23 andMe Holding Co.
Case: 1:23-cv-16828 Document #: 12 Filed: 12/29/23 Page 44 of 44 PageID #:137




                                                                -tE
                                                                l!,   5
                                                                      o
                                               lll

                                               o=
                                               -tt
                                               o
                                   N)i!                               o




                             b
                             \
                              a I s I ()
                             oq q -
                               +
                               J 1 =
                                   o- o
                                                           ^
                                                           -t
                                                                      E"
                                                                      -d
                                                                      =.iO
                                                                      .o
                                          =<         --
                              I XI 9o
                              -    -t     =                -          -+
                                                                      3a
                                                                      oa
                              Be
                              5 & I(D +i
                                      q t,'                           r-E
                              o;                 o Y                  gsa'
                              5                  =                    >r
                                   =                                  :l L_
                                   q=i+(-"q=
                                   =
                                   i
                                   (D(D.) .'+                         -o

                                                                      (o
                                                     tJ)              o
                                                     .,+              o
                                                     i$g
                                                     c+
                                                     iTt
                                                     AE                   B
